                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )        Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )   Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )   MEMORANDUM OF LAW IN SUPPORT
      vs.                                   )   OF MOTION FOR APPOINTMENT AS
                                            )   LEAD PLAINTIFF AND APPROVAL OF
CORRECTIONS CORPORATION OF                  )   LEAD PLAINTIFF’S SELECTION OF
AMERICA, et al.,                            )   LEAD COUNSEL
                                            )
                             Defendants.    )
                                            )




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        Amalgamated Bank, as Trustee for the LongView Collective Investment Fund

(“Amalgamated Bank”) respectfully submits this memorandum of law in support of its motion for

appointment as lead plaintiff and approval of its selection of Robbins Geller Rudman & Dowd LLP

as lead counsel pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”).

I.      INTRODUCTION
        The above-captioned putative class action is brought on behalf of purchasers or acquirers of

Corrections Corporation of America (“CCA” or the “Company”) securities between February 27,

2012 through August 17, 2016 (the “Class Period”) against the Company and three of its senior

executive officers for alleged violations of the Securities and Exchange Act of 1934 (the “1934

Act”). The PSLRA provides that within 90 days after publication of the notice, the Court “shall

consider any motion made by a purported class member” and “shall appoint as lead plaintiff the

member or members of the purported plaintiff class that the court determines to be most capable of

adequately representing the interests of class members.” 15 U.S.C. §78u-4(a)(3)(B)(i).

        Here, Amalgamated Bank should be appointed as lead plaintiff because it: (1) timely filed

this Motion; (2) has the largest financial interest in the outcome of this litigation; and (3) will

typically and adequately represent the class’s interests. See 15 U.S.C. §78u-4(a)(3)(B)(iii). In

addition, Amalgamated Bank’s selection of Robbins Geller as lead counsel and Barrett Johnston as

local counsel should be approved. See 15 U.S.C. §78u-4(a)(3)(B)(v).

II.     STATEMENT OF FACTS
        CCA is a real estate investment trust (“REIT”) based in Nashville. The Company owns,

operates and manages prisons and other correctional facilities for governmental agencies. Federal

authorities primarily consist of the Federal Bureau of Prisons (“BOP”), the U.S. Marshals Service

(“USMS”) and U.S. Immigration and Customs Enforcement (“ICE”). Payments by federal

authorities represented 51% of CCA’s total revenue for the years ending 2013-2015, with another

40.5% of its total revenues being derived from its state government contracts. Payments by just the

BOP represented over 10% of CCA’s total revenue for the years ending in 2013-2015.




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        The main selling point for CCA is that it saves taxpayer dollars by “offering a compelling

value”: providing equal or better correctional services (housing, food, health and educational

opportunities – as well as lower recidivism rates) than a governmental counterpart at a substantially

lower price. Unfortunately for investors, CCA systematically misled shareholders about the

Company’s primary business strategy and long-term growth opportunities by making false

statements that misled investors into believing the premise that CCA received government contracts

based on a purported competitive advantage over the relevant government counterparty’s ability to

build and operate a prison, i.e., CCA’s ability to provide equal or better correctional services at a

lower price.

        Instead, CCA was focused on finding ways to cheat by, among other things: (1) falsifying

incidents of violence in its prisons; (2) manipulating audits by the American Correctional

Association (“ACA”) to achieve a 99% compliance rate that was undeserved; (3) concealing and

covering up reports of local governments canceling contracts with CCA due to the Company’s

inability to provide the requisite competitive advantage; and (4) engaging in a lobbying and media

campaign aimed at deceiving the government and its shareholders about the true nature and costs of

its public prisons and concealing the Company’s inability to fairly compete with the government.

Defendants’ false statements and fraudulent scheme concealed the underlying risk of the fraud – that

once discovered, the inefficiency and poor quality of CCA’s prisons would be exposed and

governments would no longer have that key incentive to contract with them. In addition, while

CCA’s stock was artificially inflated during the Class Period, 10 directors and 8 senior officers

cashed in over $64 million worth of their own CCA shares.

        On August 11, 2016, the U.S. Department of Justice (“DOJ”) Office of the Inspector General

issued a report entitled “Review of the Federal Bureau of Prisons’ Monitoring of Contract Prisons”

(the “Review”), which noted that in “recent years, disturbances in several federal contract prisons

resulted in extensive property damage, bodily injury, and the death of a Correctional Officer” and,

after a comprehensive examination, concluded that “in most key areas, contract prisons [including

CCA] incurred more safety and security incidents per capita than comparable BOP institutions.”


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The Review found that contract prisons (including CCA) “had more frequent incidents of contraband

finds, assaults, uses of force, lockdowns, guilty findings on inmate discipline charges, and selected

categories of grievances” and was unable to conclude that contract prisons offered any cost savings

compared to BOP institutions. Among the contract prisons examined in the Review, the Inspector

General further concluded that CCA specifically had the highest frequency of reports of: (a)

assaults by inmates on inmates; (b) sexual assaults by inmates on staff; (c) fights; and (d) suicide

attempts and self-mutilation. CCA facilities also had over ten times as many safety and security

grievances as other contract prison operators. In addition, a single CCA facility in Adams County,
Mississippi had over twice as many cell phone confiscations during the review period as all 14 BOP

institutions combined. CCA was provided with a copy of the Review before its publication and did

not dispute any of the data contained therein.

        On August 18, 2016, Deputy Attorney General Sally Q. Yates released a memorandum

addressed to the director of the BOP, directing that the BOP would be “reducing – and ultimately

ending – [its] use of privately operated prisons” by either “declin[ing] to renew that contract or

substantially reduce its scope in a manner consistent with law.” The rationale for this decision was

explained as follows:

                Private prisons served an important role during a difficult period, but time has
        shown that they compare poorly to our own Bureau facilities. They simply do not
        provide the same level of correctional services, programs, and resources; they do
        not save substantially on costs; and as noted in a recent report by the Department’s
        Office of Inspector General, they do not maintain the same level of safety and
        security. The rehabilitative services that the Bureau provides, such as educational
        programs and job training, have proved difficult to replicate and outsource - and
        these services are essential to reducing recidivism and improving public safety.

        On this news, CCA’s share price fell nearly 40%, to close at $17.57 on August 18, 2016, on

volume of almost 40 million shares. The next day, on August 19, 2016, CCA responded to the

DOJ’s announcement by emphasizing to shareholders that the BOP contracts only account for 7% of

CCA’s business. Nevertheless, CCA’s stock price was unable to rebound to any significant extent.

This stock price decline caused hundreds of millions of dollars in losses to CCA investors who relied

on the accuracy of defendants’ statements and suffered damages when the truth began to be revealed.



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III.    ARGUMENT

        A.     Amalgamated Bank Is the “Most Adequate Plaintiff” and Should Be
               Appointed Lead Plaintiff
        The PSLRA establishes the procedure for the appointment of a lead plaintiff in “each private

action arising under [the 1934 Act] that is brought as a plaintiff class action pursuant to the Federal

Rules of Civil Procedure.” 15 U.S.C. §78u-4(a)(1); see also 15 U.S.C. §78u-4(a)(3)(B)(i). First, the

pendency of the action must be publicized in a widely circulated national business-oriented

publication or wire service not later than 20 days after filing of the first complaint. 15 U.S.C. §78u-

4(a)(3)(A)(i). Next, the PSLRA provides that the Court shall adopt a presumption that the most

adequate plaintiff is the person that –

        (aa) has either filed the complaint or made a motion in response to a notice . . .;

        (bb) in the determination of the court, has the largest financial interest in the relief
        sought by the class; and

        (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
        Procedure.

15 U.S.C. §78u-4(a)(3)(B)(iii)(I); see also Garden City Emps. Ret. Sys. v. Psychiatric Solutions, Inc.,

2010 U.S. Dist. LEXIS 42915, at *8-*9 (M.D. Tenn. Apr. 30, 2010) (Haynes, Jr., J.). Amalgamated

Bank meets these requirements and should be appointed as Lead Plaintiff.

               1.      Amalgamated Bank Timely Moved for Appointment
        The notice published in connection with the filing of the complaint in this case on August 23,
2016, advised class members of the pendency of the action, the claims asserted, the relevant time

period and the right to move the Court for appointment as lead plaintiff within 60 days, or by

October 24, 2016. See Ex. A to the Declaration of Christopher M. Wood in Support of Motion for

Appointment as Lead Plaintiff and Approval of Lead Plaintiff’s Selection of Lead Counsel (“Wood

Decl.”), filed concurrently herewith; 15 U.S.C. §78u-4(a)(3)(A). Because this Motion is being

timely filed by the statutory deadline, Amalgamated Bank is entitled to be considered for

appointment as lead plaintiff.




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                2.      Amalgamated Bank Has the Largest Financial Interest in the
                        Relief Sought by the Class
        As evidenced by its PSLRA Certification, Amalgamated Bank purchased or acquired almost
159,000 shares of CCA stock and suffered over $1.2 million in losses as a result of defendants’

alleged misconduct. See Wood Decl., Exs. B, C.1 To the best of its counsel’s knowledge, there are

no other plaintiffs with a larger financial interest.2 Therefore, Amalgamated Bank satisfies the

PSLRA’s prerequisite of having the largest financial interest.

                3.      Amalgamated Bank Otherwise Satisfies Rule 23
        In addition to possessing a significant financial interest, a lead plaintiff must also “otherwise

satisf[y] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. §78u-

4(a)(3)(B)(iii)(I)(cc). At the lead plaintiff stage, the Rule 23 considerations are generally limited to

the questions of typicality and adequacy. See Garden City Emps. Ret. Sys, 2010 U.S. Dist. LEXIS

42915, at *8 (discussing the typicality and adequacy requirements at the lead plaintiff stage).

        “In the Sixth Circuit, the test for typicality is whether a named plaintiff’s claims ‘arises from

the same event or practice or course of conduct that gives rise to the claims of other class members,

and if his or her claims are based on the same legal theory.’” Garden City Emps. Ret. Sys. v.

Psychiatric Solutions, Inc., 2012 U.S. Dist. LEXIS 44445, at *99-*100 (M.D. Tenn. Mar. 29, 2012)

(Haynes, Jr., J.) (certifying securities class action) (citation omitted).         Here, if appointed,

Amalgamated Bank intends to allege that defendants violated the federal securities laws by

disseminating false and misleading statements and omissions and that Amalgamated Bank purchased

CCA stock at prices artificially inflated by defendants’ misrepresentations and omissions, like all of




1
        Amalgamated Bank’s loss is $1.2 million calculated pursuant to the FIFO (first-in, first-out)
accounting method or more than $913,000 calculated pursuant to the LIFO (last-in, last-out)
accounting method. See generally Norfolk Cty. Ret. Sys. v. Cmty. Health Sys., 2011 U.S. Dist.
LEXIS 149899, at *12-*13 (M.D. Tenn. Nov. 28, 2011) (Knowles, Mag.). In addition,
Amalgamated Bank held 77,196 shares as of August 17, 2016 and suffered $1.1 million in harm as a
result of the disclosures of defendants’ wrongdoing thereafter. See Wood Decl., Ex. C.
2
       Based on Nikki Bollinger Grae’s certification attached to her complaint, her loss is
approximately $5,400. See Dkt. No. 1 at 39.

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the other class members. Therefore, the Court should find its claims are typical to the claims of the

other class members.

        “Inquiry into the adequacy elements requires the Court to consider whether ‘“(1) the

representative[s] . . . have common interests with unnamed members of the class, and (2) it []

appear[s] that the representatives will vigorously prosecute the interests of the class through

qualified counsel.”’” Id. at *101 (citations omitted). Amalgamated Bank is trustee to the LongView

Funds, which collectively manage about $13 billion in assets for institutional investors, primarily

employee benefit funds. For over two decades, Amalgamated Bank’s LongView Funds have

pursued a vigorous program of shareholder engagement, promoting the highest standards of

environmental, social and corporate governance practices at the companies in which it invests.

Amalgamated Bank has prior experience serving as lead plaintiff and overseeing counsel in

securities class actions. See Wood Decl., Ex. B. In fact, Amalgamated Bank has successfully

recovered hundreds of millions of dollars for defrauded investors and was the institutional investor

that took vigorous action against Enron to preserve evidence in the case arising out of the massive

accounting fraud, which case ultimately yielded $7.2 billion for investors. As such, Amalgamated

Bank is not aware of any potential conflicts of interest or any matters that would preclude it from

fulfilling its duties as lead plaintiff. Additionally, as explained below, Amalgamated Bank has hired

experienced counsel, further evidencing its willingness to fairly and competently represent the

interests of the class.

        Because Amalgamated Bank filed a timely motion, has a large financial interest in the relief

sought by the class and demonstrated its typicality and adequacy, the Court should adopt the

presumption that it is the “most adequate plaintiff.”

        B.      The Court Should Approve Amalgamated Bank’s Selection of Counsel
        The PSLRA vests authority in the lead plaintiff to select and retain lead counsel, subject to

the Court’s approval. See 15 U.S.C. §78u-4(a)(3)(B)(v). Amalgamated Bank selected Robbins

Geller as lead counsel and Barrett Johnston as local counsel.




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        Robbins Geller, a 200-lawyer firm with offices in this District, regularly practices complex

securities litigation within the Sixth Circuit and this District. See Wood Decl., Ex. D. District courts

throughout the country, including the Judges of this District, have noted Robbins Geller’s reputation

for excellence, which has resulted in the appointment of Robbins Geller attorneys to lead roles in

hundreds of complex class action securities cases. See, e.g., Burges v. BancorpSouth, Inc., 2016

U.S. Dist. LEXIS 56802 (M.D. Tenn. Apr. 28, 2016) (Campbell, J.) (certifying class and appointing

Robbins Geller as class counsel); Garden City Emps. Ret. Sys., 2010 U.S. Dist. LEXIS 42915, at *13

(finding Robbins Geller lawyers to be “well qualified and experienced to represent the class”).

Notably, the team of Robbins Geller and Barrett Johnston is responsible for obtaining each of the

three largest securities fraud class action recoveries ever obtained in this District. See, e.g., Schuh v.

HCA Holdings, Inc., No. 3:11-cv-01033, Transcript at 12-13 (M.D. Tenn. Apr. 11, 2016) (Sharp, J.)

(in granting final approval to $215 million recovery, the largest securities class action recovery ever

in Tennessee, Judge Sharp stated that lawyers with Robbins Geller and Barrett Johnston “were

gladiators” and “[l]ooking at the benefit obtained, the effort that you had to put into it, [and] the

complexity in this case . . . I appreciate the work that you all have done on this”). Robbins Geller

attorneys have also obtained the largest securities fraud class action recovery in the Sixth Circuit as

well as the Fifth, Seventh, Eighth, Tenth and Eleventh Circuits.3

        The members of the class will receive the highest caliber of legal representation available
from Robbins Geller and Barrett Johnston. Accordingly, Amalgamated Bank’s selection of counsel

should be approved.



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         See In re Enron Corp. Sec., No. H-01-3624 (S.D. Tex.) ($7.3 billion recovery is largest
securities class action recovery in U.S. history and in the 5th Circuit); In re Cardinal Health, Inc.
Sec. Litig., No. C2-04-00575 (S.D. Ohio) ($600 million recovery is the largest securities class action
recovery in the 6th Circuit); Lawrence E. Jaffe Pension Plan v. Household Int’l Inc., No. 1:02-cv-
05893 (N.D. Ill.) ($1.575 billion recovery is the largest securities class action recovery following a
trial as well as the largest securities class action recovery in the 7th Circuit); In re UnitedHealth
Group Inc. Sec. Litig., No. 0:06-cv-01691 (D. Minn.) ($925 million recovery is the largest securities
class action recovery in the 8th Circuit); In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-
1451 (D. Colo.) ($445 million recovery is the largest securities class action recovery in the 10th
Circuit); In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500 (N.D. Ala.) ($671 million
recovery is the largest securities class action recovery in the 11th Circuit).

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IV.     CONCLUSION
        Amalgamated Bank has satisfied each of the PSLRA’s requirements for appointment as lead

plaintiff. As such, Amalgamated Bank respectfully requests that the Court appoint it as Lead
Plaintiff and approve its selection of Lead Counsel.

DATED: October 24, 2016                        Respectfully submitted,

                                               BARRETT JOHNSTON MARTIN
                                                 & GARRISON, LLC
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                                                                s/ Jerry E. Martin
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                                               [Proposed] Lead Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 24, 2016, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on October 24, 2016.

                                                    s/ JERRY E. MARTIN
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Mailing Information for a Case 3:16-cv-02267 Grae v.
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Manual Notice List

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therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.
• (No manual recipients)




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